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Honorable Paul A. Engelmayer
U.S. District Court for the Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     Antoine Ross v. Captain Dion Willis, et al., 16 Civ. 6704 (PAE) (KNF)

Dear Judge Engelmayer:

        We are pro bono counsel to Plaintiff Antoine Ross. We respectfully write in response to
the pre-motion letter filed by Defendants Sadoc Genoves and Rochaurd George. Dkt. 134.
I.     Facts
        This case arises out of a June 14, 2016 incident that occurred while Mr. Ross was a pre-
trial detainee on Rikers Island. Early that morning, New York City Department of Correction
(DOC) staff attempted to wake Mr. Ross to attend a scheduled court date. However, Mr. Ross
would not get up because he was sedated by antidepressant medication that DOC staff had
prescribed to him. Once Mr. Ross refused to get up, correction officers in riot gear—including
all three Defendants—were summoned to Mr. Ross’s cell.
        When Defendants arrived, Mr. Ross was lying face-down on his bed inside his cell. On a
video recording of the incident, Mr. Ross can be heard asking sleepily why he had to leave his
cell and telling the officers that he is “on drugs.” Captain Willis warned Mr. Ross that, if he did
not comply, Captain Willis would spray him with chemical agent. Approximately ten seconds
later, Captain Willis sprayed Mr. Ross in the face with “MK-9” pepper spray. Before taking that
action, none of the Defendants tried to determine whether Mr. Ross had any medical conditions
that would contraindicate the use of chemical agent. (In fact, Mr. Ross has suffered since
childhood from asthma, and DOC policy prohibits using pepper spray against asthmatic de-
tainees in most circumstances other than emergencies.) Defendants also did not attempt to
contact DOC mental health staff, to assemble an extraction team that could safely remove Mr.
Ross from his cell, or to explore any other way to resolve the situation without resorting to force.
        After Captain Willis sprayed Mr. Ross, the officers handcuffed him and escorted him out
of his cell. The video captures him doubled over, coughing, wheezing, and eventually screaming
in distress. After walking partway through the cell block, Mr. Ross fell to his knees and
protested that he could not breathe. The officers put Mr. Ross face-down on a stretcher and
wheeled him toward the decontamination showers. While on the stretcher, Mr. Ross began to
shake violently. Several hours later, Mr. Ross was taken to the medical clinic. He was taken to
court later that day.
       DOC staff investigated the incident and found that Captain Willis violated DOC policy
by “not assembling a proper extraction team;” by “not notifying mental health services” about
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the situation; and by failing to request Mr. Ross’s “contra indicators” (i.e., his medical
information) before using chemical agent. The investigation concluded that Captain Willis’s
actions “could have led to serious injuries or complications associated with being exposed to the
chemical agent.” Each of the three Defendants in this action was trained both on those policies
and on the need to intervene if they see a violation of those policies taking place.
II.     Proposed Summary Judgment Motion by Officers Genoves and George
       Summary judgment is inappropriate on the failure-to-intervene claims because there
remain genuine disputes of material fact as to whether Officers Genoves and George should have
known that Captain Willis was about to violate Mr. Ross’s constitutional rights. They,
moreover, are not entitled to qualified immunity. Mr. Ross’s claims can and should be decided
by a jury. The Court should therefore either deny Defendants’ motion summarily or set an
expedited briefing schedule to resolve their motion quickly so that this case can proceed to trial.1
        A.       Failure-To-Intervene Claims
        An officer is liable under Section 1983 if he “observes excessive force is being used or
has reason to know that it will be,” Curley v. Village of Suffern, 268 F.3d 65, 72 (2d Cir. 2001),
and does not intervene despite having a realistic opportunity to do so, Anderson v. Branen, 17
F.3d 552, 557 (2d Cir. 1994). “Whether the officer had a ‘realistic opportunity’ to intervene is
normally a question for the jury, unless, ‘considering all the evidence, a reasonable jury could
not possibly conclude otherwise.’ ” Terebesi v. Torreso, 764 F.3d 217, 244 (2d Cir. 2014). The
Second Circuit has instructed that district courts must not apply a “hard-and-fast temporal
cutoff ” in deciding whether a defendant has an opportunity to intervene. Figueroa v. Mazza,
825 F.3d 89, 107 (2d Cir. 2016).
       Under these standards, a jury could decide whether Officers Genoves and George “ha[d]
reason to know” Captain Willis would use excessive force and act with deliberate indifference.
Curley, 268 F.3d at 72. Both testified that they heard Captain Willis warn Mr. Ross that he was
going to spray him with chemical agent. They also testified that they did not feel threatened by
Mr. Ross, or think that he was a threat to other inmates. They both admitted to receiving training
on DOC’s anticipated-use-of-force policy, which not only provided for alternatives to the use of
chemical agent in this situation, but required them. And they have not claimed that there were
any “obstacles that might have hindered their ability to intercede.” Figueroa, 825 F.3d at 108.
       Citing an unpublished opinion, Officers Genoves and George argue they had “no duty to
intervene” until after a constitutional violation “had occurred.” Dkt. 134 at 2 (citing Cerbelli v.

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  Mr. Ross’s pro se complaint can also be read to allege, in the alternative, that Officers Genoves and George are
liable because “with knowledge of the illegality,” they “participate[d] in bringing about a violation of [Mr. Ross’s]
rights” by “helping [Captain Willis] to do the unlawful acts.” Provost v. City of Newburgh, 262 F.3d 146, 155 (2d
Cir. 2001); see, e.g., Rizk v. City of New York, --- F. Supp. 3d ----, 2020 WL 2734361, at *14 (E.D.N.Y. May 22,
2020) (allowing alternative participant-liability and failure-to-intervene-liability theories to proceed past summary
judgment). Officers Genoves and George have not requested leave to move for summary judgment on any claim by
Mr. Ross other than his failure-to-intervene claim. They also have not asserted that their motion would resolve this
case completely as to them. Thus, because a trial will be required in any event to resolve Mr. Ross’s other claims,
this Court should avoid if possible protracted summary judgment practice on the failure-to-intervene claim.
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City of New York, No. 99 Civ. 6846, 2008 WL 4449634, at *11 (E.D.N.Y. Oct. 1, 2008)). That
argument makes no sense: If state actors need not intervene to stop a constitutional violation
until after that violation has begun, their intervention will serve little purpose. Nor can their
argument be squared with the rule that an officer is liable where he “observes excessive force is
being used or has reason to know that it will be.” Curley, 268 F.3d at 72 (emphasis added).2
And while Officers Genoves and George urge that Captain Willis’s use of force did not last long
enough for them to intervene, that is precisely the sort of hard-and-fast temporal cutoff that the
Second Circuit has rejected. Figueroa, 825 F.3d at 107. Moreover, that argument misses the
mark because, regardless of how long the pepper-spray use lasted, the relevant inquiry is whether
they had enough time to intervene when they knew Captain Willis was about to use pepper
spray. See Curley, 268 F.3d at 72.
       Officers Genoves and George also argue that they had no duty to intervene because the
force Captain Willis used was not objectively unreasonable. Dkt. 134 at 2-3. But, as discussed
in more detail in Mr. Ross’s response to Captain Willis’s pre-motion letter, factual disputes
abound regarding whether Captain Willis’s force was reasonable. Defendants’ own statements,
along with other evidence, show that disputes exist about whether the decision to pepper spray a
groggy, prone detainee in the face without first checking his medical conditions or otherwise
following DOC policy was a reasonable one. See also Ross Resp. to Willis Ltr., Dkt. 137 at 2-3.
        Finally, Officers Genoves and George argue that no failure-to-intervene claim could be
based on Captain Willis’s deliberate indifference to Mr. Ross’s health because “it was not
unreasonable for Defendant Willis to spray [Mr. Ross] without first checking [his] medical
history.” Dkt. 134 at 3. As their cited case recognizes, however, it is unreasonable not to miti-
gate a situation that “the defendant-official knew, or should have known” to “pose[ ] an exces-
sive risk to health or safety.” Dollard v. City of New York, 408 F. Supp. 3d 231, 237 (E.D.N.Y.
2019) (quotation omitted). Because, by all Defendants’ admission, Mr. Ross posed no
immediate danger, and because DOC policies required Captain Willis to check Mr. Ross’s
medical records in precisely this situation, a reasonable jury could find that Defendants should
have taken steps to find out whether pepper-spraying him in the face posed an excessive risk to
his health (which it did). Summary judgment on that claim is therefore unwarranted as well.

        B.       Qualified Immunity
        Nor are Officers Genoves and George entitled to qualified immunity. They claim
qualified immunity only derivatively. See Dkt. 134 at 3. For the same reasons Captain Willis is
not entitled to qualified immunity—because a reasonable jury could conclude that it was clearly
established that Captain Willis’s actions violated Mr. Ross’s constitutional rights, and the
circumstances made it objectively unreasonable to believe otherwise, Dkt. 137 at 3—Officers
Genoves and George are not either. See, e.g., Ricciuti v. NYC Transit Auth., 124 F.3d 123, 129
(2d Cir. 1997) (analyzing and denying qualified immunity for failure-to-intervene claim).

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  Defendants’ cited cases merely concern situations unlike this one where the use of force occurred without warning
in an unpredictable situation. See O’Neill v. Krzeminski, 839 F.2d 9, 10 (2d Cir. 1988) (officer punched handcuffed
arrestee in response to provocative comments); Cerbelli, 2008 WL 4449634, at *2 (man pacing around police
precinct brandishing knife and screaming “shoot me”).
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                                          Respectfully submitted,


                                          /s/ Sara E. Margolis
                                          Sara E. Margolis


CC: All counsel of record via ECF
